Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 1 of 15

17

<— missbosak | FOLLOW |

471 likes

missbosak What happens at Omar stays at
Omar ...

fmaccapani *

cruzgbassr No invitan vale ©

kelleyfahey At Omar's it’s all public!

rafagonzalezphoto Ww

missbosak Gkelleyfehey u know it all ©

kirsi?7sxm Mais..mais!

carolinazerpaBS

Log iri to like or comment.

 
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 2 of 15

9. Plaintiff has also inappropriately posted on social media a photograph of a
note from the Child across which Plaintiff has scrawled “F... you Asensio”
to demonstrate in as filthy a manner as possible how she views the Child’s
affection as nothing more than a means to spite the Defendant.

 

18
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 3 of 15

EXHIBITS
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 4 of 15

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF _NEW YORK

 

 

MANUEL P. ASENSIO, ‘
Plaintiff/Petitioxrer,
- against - index No. 159812/2016
RICHARD SPITZER,
Defendant/RESpSRaentX
xX

NOTICE OF COMMENCEMENT OF ACTION
SUBJECT TO MANDATORY ELECTRONIC FILING

PLEASE TAKE NOTICE that the matter captioned above has been commenced as an
electronically filed case in the New York State Courts Electronic Filing System (“NYSCEF”) as
required by CPLR § 2111 and Uniform Rule § 202.5-bb (mandatory electronic filing). This notice
is being served as required by that rule.

NYSCEF is designed for the electronic filing of documents with the County Clerk and the
court and for the electronic service of those documents, court documents, and court notices upon
counsel and unrepresented litigants who have consented to electronic filing.

Electronic filing offers significant benefits for attorneys and litigants, permitting papers to be
filed with the County Clerk and the court and served on other parties simply, conveniently, and
quickly. NYSCEF case documents are filed with the County Clerk and the court by filing on the
NYSCEF Website, which can be done at any time of the day or night on any day of the week. The
documents are served automatically on all consenting e-filers as soon as the document is uploaded
to the website, which sends out an immediate email notification of the filing.

The NYSCEF System charges no fees for filing, serving, or viewing the electronic case
record, nor does it charge any fees to print any filed documents. Normal filing fees must be paid,
but this can be done on-line.

Parties represented by an attorney: An attorney representing a party who is served with
this notice must either: 1) immediately record his or her representation within the e-filed matter on
the NYSCEF site; or 2) file the Notice of Opt-Out form with the clerk of the court where this action
is pending. Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
they lack the computer hardware and/or scanner and/or internet connection or that they lack (along
with all employees subject to their direction) the operational knowledge to comply with e-filing
requirements. [Section 202.5-bb(e)]

Parties not represented by an attorney: Unrepresented litigants are exempt from e-

filing. They can serve and file documents in paper form and must be served with documents
in paper form. However, an unrepresented litigant may participate in e-filing.

Page 1 of 2 EFM-1
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 5 of 15

For information on how to participate in e-filing, unrepresented litigants should contact the
appropriate clerk in the court where the action was filed or visit www.nycourts.gov/efile-
unrepresented. Unrepresented litigants also are encouraged to visit www.nycourthelp.gov or
contact the Help Center in the court where the action was filed. An unrepresented litigant who
consents to e-filing may cease participation at any time. However, the other parties may continue
to e-file their court documents in the case.

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone: 646-

386-3033; e-mail: efile@nycourts.gov).

Dated: November 22, 2016

   

 

 

 

 

 

 

OO uD eS a
LM Lif 2
SO JME: peer 355 LEXINGTON AVENUE, SUITE 401
~*~ “Signature Address
MITCHELL CANTOR NEW YORK, NEW YORK 10017
Name
LAW OFFICES OF MITCHELL CANTOR 212-679-7820
Firm Name Phone

Cantor.law@verizon.net

E-Mail

 

To: RICHARD SPITZER

 

291 BROADWAY, SUITE 808

 

NEW YORK, NEW YORK 10007

9/3/15

Index # Page 2 of 2 EFM-1
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 6 of 15

EXHIBIT 2
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 7 of 15

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
INDIVIDUAL ASSIGNMENT PART _) /__

   

 

D AND AGREED by and between the below-named attorney(s) as follows.

 

 

 

 

 

 

 

 

 

 

 

 

 

if Of fe

o ae Gem
Agormmder Detendant

¥
&

 

#

    
 

 

veg

So Ordered,

 

oe Z thet
a. Atlomey for Deten

   

ENTER: 0" fo te

   
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 8 of 15

PRELIMINARY CONFERENCE ORDER

 

Bee as Stl
nae So an at

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BIN steht bya

 

 

 

 

*®. ADDITIONAL DIRECTIVES

SC.LNO. 8F Rev. 2/86

 
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 9 of 15

PRELIMINARY CONFERENCE ORDER

é

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Xx. ADDITIONAL DIRECTIVES

 

SC_LNO. 8F Rey. 2/86
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 10 of 15

PRELINUNARY CONFERENCE ORDER

 
 
 
   
  

xX, ADDITIONAL DIRECTIVES: __v

   

 

 

 

 

 

    
      

ea

é
a Lge

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SC.NO. 8F Rev.

 
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 11 of 15

PRELIMINARY CONFERENCE ORDER

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

%. ADDITIONAL DIRECTIVES

SC.NO. SF Rev. 2/86

 
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 12 of 15

EXHIBIT 3
02/17/11 TH@age4b: Faxcv-10933-RA Document 18-11 Filed 12/17/18 Page 13 of 15

Ucs+840 (REV 1/2006)

REQUEST FOR JUDICIAL INTERVENTION

Sunce me New Yor 2OOYTE/AO| |

couRT COUNTY

PLAINTIFF (#);

INDEX WO,

MARTE EMILTE Bossa

DEFENDANT (S):

MANUEL P. ASENSTO~ GARCIA

Aooi

 

L/S / I

DATE PURCHASED

For Clerk only

 

IAS entry date

 

Judge Assigned

 

 

Rgl Date

 

 

 

Date lasue joined:

 

Bili of particulare eerved (Y/N): { ]¥ea xine

NATURE OF JUDICTAL INTERVENTION (check ONS box only AND enter information)

[ )} Request for preliminary conference

[ ] Note of igene and/or certificate of
terzdiness

[ ] Notice of motion (return date:
Relief sought

Mi Order to show cause
(clerk enter return date:

Relief etn
[ ] Other ex parte application * ax

 

NATURE OF ACTION OF PROCEEDING (Check ONE bex only)

MA'TRIMONTAL
mi Contested
] Uncontested
COMMERCIAL
[ ] Contract
{[ ] Corporate
[] Incurance (where imesurer is a
party, except arbitration)
{ ] vec (including ealeu, negotiable

inatrumenta)
( ) *Qther Commercial

REAL FROPERTY

Tax Certioerari
Foreclosure
Condemnation
Landiord/Tenant
*Other Real Property

mA
Met

 

OTHER MATTERS

Ed *

 

TORTS

-CM
-UM

-CONT

- CORP

INS
-pcc

Rustad
delited dickou
warmer g& Psy

( ] Nottce of petition (raturn date- )

Relief sought

( ] Notice of medical or dental malpractice

action (epeeify:
[ ] Statement of net worth
[ ] Writ of habeas corpuae

[] Other (specify:

)

 

Clog iS

Malpractice

I ] Medival/Podiatric

{ ] Dental

[] “Other Professional

-MM
-DM
~OPM

 

[ ] Meter vehicle
[ ] *Preducta Liability

-MV
-PL

 

Environmental
Aebestoe

Breast Implant
“Other Negligence

aoe

“EN
-ASB
-BI
-OTHW

 

{ ] “Other Tort (including
intentional)

OT

 

PECTAL PROCEEDTWaS
] Art. 75 (Arbitration)
] Art. 77 (Truete)
] Art. 78
] Elaction Law
] Guardianship (MHL Art. 81)
] *Other Mental Byqiene
]

8
{
I
[
[
[
[
t *Other Special Proceeding
02/17/11 THCasesk: F8xcv-10933-RA Document 18-11 Filed 12/17/18 Page 14 of 15 (oo2

Cheek "YES" or "NO" for each of the follewlng quagtions:

Te this action/procesding against a

 

 

YES NO YES No.
Cj ] Municipality: [] V4 Publie Autherity:

(Specify ) (Speqify. )
YES No

[ ? Dees thie action/proceeding seek equitable relief?
pe] Does thie attion/preceeding aeek recovery for persenal injury?
Ost Dees thia action/proceeding seck recovery for property damage?

os

Era-Note Time Frames:
(Thin applies to all cases except contested matrimonials and tax certiorari cadens)

 

Eetimated time period for case to be ready for trial (from tiling of RJI te Filing of Note of Lasusa):

O Expedited: 0-8 months WK standara: S-12 monthae 0 Cemplex: 13-15 montha

Contested Matrimenial Casas Only: (Check and give date)

 

 

 

Hae summons been served? D No Yes, Date, | Ld
Was a Notice of No Neceseity filed? No D Yea, Date
ATTORNEY (S) FOR PLAINTIFF (5) : 7
Belf Name Addraao Phone
Rep.
a «5 dd Bucskein f x, on 0 Broadus, Ney Yok, NY {O0\4 RA-VTY “fk LOD
fA

 

 

ATTORNEY (9) FOR DEFENDANT (3S):

 

 

 

 

Self Nama Address Phone #
Rep .*
Oo
Oo

 

 

 

 

4Selt Represented: parties representing themselves, without an atterney, should check the "Self Rep." box and
enter their name, address, and phone 4 in the space previded above for attorneys.

INS iH CARRIERS:

RELATED CASES: (TF NONE, write “NONE" below)

fritle Tudeac Court Nature of Relationship
Fosule v. Aseayso Doolcek & ¥-HIF TS 10 Fumle lar Pent ly (us Cia (eater Phe poerticr fo Wag eet.

op -. 5 ,
gael Cintad, J iisifetrs of He. fertics clit
I AFFIRM UNDER PENALTY OF PERJURY THAT, TO KNOWLEDGE, OTHER THAN AS NOTED ABOVE, THERE ARE AND HAVE
BEEN NO RELATED ACTIONS © CEEDINGS, NOR HAS A/REGURST FOR JUDICIAL INTERVENTION PREVIOUSLY BEEN FILED IN
THIS ACTION OR PROGEEDING.

Dated: at \Q [\\ = “™~

odd Bucs cei

(PRINT OR TYPE NAME)

Mracie, Emilie. Basak

ATTORNEY FOR

 
 
 

  

ATTACH RIDER SHEE IP NECESSARY TO PROVIDE REQUIRED INFORMATION

\fozma\xjizoo0-wed
Case 1:18-cv-10933-RA Document 18-11 Filed 12/17/18 Page 15 of 15

EXHIBIT 4
